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     STEPHENS INSTITUTE dba
 6   ACADEMY OF ART UNIVERSITY and
     MICHAEL PETRICCA
 7

 8                                          IN THE UNITED STATES DISTRICT COURT
                                                          FOR THE
 9                                            NORTHERN DISTRICT OF CALIFORNIA
                                                       SAN FRANCISCO
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12   CHADRICK BAKER, an individual,                                                )     Case No.: 17-cv-03444 JSC
                                                                                   )
13                           Plaintiff,                                            )
     v.                                                                            )     DEFENDANTS STEPHENS INSTITUTE
14                                                                                 )     dba ACADEMY OF ART UNIVERSITY
     THE ACADEMY OF ART UNIVERSITY                                                 )     and MICHAEL PETRICCA’S STATUS
15   FOUNDATION, a non-profit corporation,                                         )     UPDATE
     MICHAEL PETRICCA, an individual, and                                          )
16   Roes Does 1 – 100, inclusive,                                                 )
                                                                                   )
17                           Defendants.                                           )
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                                BAKER vs. AAU [USDC-ND #17-CV-03444 JSC] – STATUS UPDATE
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 1                                                                 STATUS UPDATE

 2               Defendants STEPHENS INSTITUTE dba ACADEMY OF ART UNIVERSITY ('"the

 3   University") (erroneously sued as THE ACADEMY OF ART UNIVERSITY FOUNDATION)

 4   and MICHAEL PETRICCA ("Mr. Petricca") (collectively, "Defendants"), are providing a status

 5   update pursuant to the Honorable Magistrate Judge Jacqueline Scott Corley' s Order Requesting

 6   Status Update (PACER document 37, dated June 6, 2022), and state as follows:

 7               1. The arbitrator issued an interim award on June 6, 2022.

 8               2. Defendant anticipates that a fmal award will be issued within sixty (60) days from

 9   today.

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11   DATED: July 6, 2022                                                                 V ARTAIN LAW GROUP

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                                                                               BY:               (/~
                                                                                         MICH        J. V ART AIN
                                                                                         STACE       . LEASK
14                                                                                       Attorneys for Defendants
                                                                                         STEPHENS INSTITUTE dba
15                                                                                       ACADEMY OF ART UNIVERSITY and
                                                                                         MICHAEL PETRICCA
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                                BAKER vs. AAU !USDC-ND # 17-CV-03444 JSCj - STATUS UPDATE
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